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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                               GREENVILLE DIVISION

 Timothy Tangen,
                                                             C/A No.: 6:21-cv-00335-BHH
                Plaintiff,

        v.
                                                              DEFENDANTS FLUOR
 Fluor Intercontinental, Inc.; Fluor Government          INTERCONTINENTAL, INC. AND
 Group International, Inc.; and Alliance Project          FLUOR GOVERNMENT GROUP
 Services, Inc.,                                            INTERNATIONAL, INC.’S
                Defendants.                                   MOTION TO DISMISS


       Defendants Fluor Intercontinental, Inc. and Fluor Government Group International, Inc.

(collectively, “Fluor”), by and through their undersigned counsel and pursuant to Federal Rule of

Civil Procedure 12(b)(6), hereby move this Court for an order granting their motion to dismiss the

Complaint (“Motion”) against Plaintiff Timothy Tangen (“Plaintiff”). This Motion is made on the

grounds that Plaintiff’s Complaint fails to state a claim upon which relief can be granted and should

be dismissed because: (i) Plaintiff’s claims are preempted based on the Federal Tort Claims Act’s

“combatant activities” exception; (ii) the Army has refused to release essential classified

information; and (iii) Plaintiff lacks standing to assert a breach-of-contract claim under Fluor’s

federal government contract. This Motion is supported by the applicable law, the pleadings in this

action, and the memorandum filed in support and served herewith.



                                   [SIGNATURE PAGE FOLLOWS]




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                               Respectfully submitted,

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                                         Attorneys for Defendants Fluor Intercontinental, Inc.
                                         and Fluor Government Group International, Inc.
February 26, 2021
Greenville, South Carolina




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